
*1056OPINION.
McMahon:
The petitioner contends that the amount of $11,287.25 paid for a replacement to its building does not constitute a capital expenditure, but cost of repairs, and as such is an allowable deduction.
The question presented is one of fact. If the expenditures were for replacements, alterations, improvements, and additions they must be capitalized. H. S. Crocker Co., 15 B. T. A. 175.
The evidence shows that all the work for which the expenditures were made was pursuant to a general plan of reconditioning, improving and altering the property as a whole to make it suitable for the petitioner’s purposes. As such we think the expenditures were of a capital nature and not deductible as expense. Home News Publishing Co., 18 B. T. A. 1008.

Judgment will be entered for the respondent.

